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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF IOWA
                                         CENTRAL DIVISION

 VEROBLUE FARMS USA, INC.                                 )
                                                          )
                                             Plaintiff,   )
                                                          )   Case No. 18-CV-3047
                          v.                              )
                                                          )
 LESLIE A. WULF, BRUCE A. HALL,                           )
 JAMES REA, JOHN E. REA, and                              )
 KEITH DRIVER,                                            )
                                                          )
                                         Defendants.      )

                     BRIEF IN SUPPORT OF NONPARTIES’
                      MOTION TO QUASH SUBPOENAS,
             OR, IN THE ALTERNATIVE, FOR PROTECTIVE ORDER

       Pursuant to Federal Rules of Civil Procedure 45(d)(3) and 26(c) and Local Rule 7(d),

Nonparties Grace Nelson, Mark Nelson, Jeff Nelson, Jerita Nelson, Korrine Nelson, and SNB

Farms Partnership (collectively, the “Nonparties”), respectfully jointly submit this Motion to

Quash Subpoenas noticed by Plaintiff VeroBlue Farms USA, Inc. (“VBF”). In the alternative,

Nonparties respectfully request a protective order.

       In addition, to the extent not set forth herein, Nonparties incorporate the arguments set forth

in Defendants Wulf, Hall, J. Rea, T. Rea’s Brief in Support of Motion to Quash Subpoenas or for

Protective Order. (Dkt. 37-1.)

                                             INTRODUCTION

       VBF noticed subpoenas to the Non-Parties (“Subpoenas”) who are all members of or

related to members of the Ad Hoc Committee of Equity Security Holders of VBF (“Equity

Committee”) in In re VeroBlue Farms USA, Inc., Case No. 18-01297 (Bankr. N.D. Iowa)




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(“Bankruptcy Case”).1            The requests in the Subpoenas are overbroad, vague, burdensome,

unlimited in time, and unrelated to the claims and defenses presented in this litigation.

           Notably, the Bankruptcy Court has yet to approve VBF’s Joint Chapter 11 Plan of

Reorganization (“Plan”) in the VBF Bankruptcy Case.2 A preliminary hearing on confirmation of

the Plan is scheduled for April 3, 2019. It appears that VBF issued these subpoenas to discover

documents and communications from the Nonparties relating to the Equity Committee’s Plan

objection. This Court should reject the use of this forum to advance VBF’s interests in the VBF

Bankruptcy Case and quash the subpoenas or, alternatively, enter a protective order for the

following reasons:

           First, pursuant Rule 26(b)(2)(C)(iii), the Subpoenas should be quashed because they

request documents and communications that have no bearing on the claims and defenses presented

in this litigation.

           Second, pursuant to Rule 45(d)(3)(A)(i), this Court should quash the Subpoenas because

fourteen days is not a reasonable amount of time to comply. The Subpoenas are unlimited in time

and request a voluminous number of documents and communications that require review for

privileged communications.

           Third, pursuant to Rule 45(d)(3)(A)(iii), this Court should quash the Subpoenas because

they request documents and communications that are protected by attorney-client and work

product privileges.

           Fourth, alternatively, this Court should issue a protective order under Rule 26(c) to protect

the Nonparties from the undue burden imposed by the Subpoenas.


1
    True and accurate copies of the subpoenas are attached hereto as Group Exhibit 1.
2
 True and accurate copies of the Equity Committee Preliminary Objection and VBF’s Plan are attached hereto as
Exhibit 2 and Exhibit 3, respectively.

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                                           FACTUAL BACKGROUD

     I.    VeroBlue Farms USA, Inc. v. Wulf et al., Case No: 18-cv-03047 (“District Court Case”)

           On July 31, 2018, VBF filed the Complaint asserting causes of action of breach of fiduciary

duty, fraudulent concealment, fraudulent misrepresentation, constructive fraud, civil conspiracy,

aiding and abetting, unjust enrichment, equitable accounting, and declaratory judgment against

Defendants Leslie Wulf, Bruce Hall, James Rea, John Rea, and Keith Driver (“Defendants”). On

October 15, 2018, Defendants filed a motion to dismiss the Complaint, which is fully briefed and

under advisement. (Dkt. 19.)

    II.    VBF Bankruptcy Court Case

           On September 21, 2018, VBF filed for Chapter 11 bankruptcy protection. The Equity

Committee retained the law firm of Horwood Marcus & Berk Chartered (“HMB”) to represent it

in the VBF Bankruptcy Case. On December 20, 2018, the Equity Committee joined with the

Notice of Challenge filed by the Official Committee of Unsecured Creditors (“Creditors’

Committee”) appointed in the Bankruptcy Case, which objected to certain liens and claims, and

urged VBF to pursue actions against its current directors for various breaches of fiduciary duty.3

On January 9, 2019, the Equity Committee submitted an objection to VBF’s Disclosure Statement

and Plan. (Bankr. Dkt. No. 238.) A preliminary hearing on confirmation of the Plan is set for

April 3, 2019.

III.       VBF Subpoenas the Nonparties

           As discussed above, the Nonparties are members of or are related to members of the Equity

Committee. On information and belief, on February 15, 2019 and February 21, 2019, VBF sent

notices of subpoenas to be served on Nonparties. The subpoenas requested that the Nonparties



3
    A true and accurate copy of the Notice of Challenge (“Challenge”) is attached hereto as Exhibit 4.

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produce various categories of documents within fourteen days.       See Group Exhibit 1. More

specifically, the subpoenas, which included no time limitation, broadly requested the following:

       1)  Any and all documents and communications relating to VBF.
       2)  Any and all documents and communications relating to the Complaint.
       3)  Any and all documents and communications relating to, or with, Defendants.
       4)  Any and all documents and communications relating to, or with, Defendants’
           counsel, including but not limited to Staci Codr, Kim Annello, and/or Heath
           Cheek or their law firms, Finley Law Firm, P.C., Exall + Wood, PLLC, and
           Bell Nunnally & Martin LLP.
       5) Any and all other documents and communications relating in any way to the
           attached December 19, 2018 letter from [Creditors’ Committee counsel]; the
           attached December 20, 2018 letter from [Equity Committee counsel]; and the
           attached January 9, 2019 letter from [a member of the Equity Committee]
           including, but not limited to, outlook calendar appointments, invoices,
           engagement letters, agreements, witness statements (whether stand-alone or
           contained in another document), memoranda, notes of communications, and
           other documents.
       6) Any and all other documents and communications that relate to any
           investigation performed as to the [December 19, 2018, December 20, 2018, and
           January 9, 2019 letters].
       7) Any and all statements of any witnesses, whether included in affidavits,
           transcripts, or contained within any other format.
       8) Any and all documents and communications relating to, or with, [legal counsel]
           and [a member of the Equity Committee].
       9) Any and all documents and communications relating to, or with, [Creditors’
           Committee counsel].
       10) Any and all documents and communications relating to, or with [Equity
           Committee counsel].
       11) Any and all documents and communications relating to, or with [Equity
           Committee counsel].
       12) Any and all documents and communications relating to, or with, [a member of
           the Equity Committee].
       13) Any and all documents and communications relating to, or with, [a member of
           the Equity Committee].
       14) Any and all documents and communications relating to, or with, [potential
           members of the Equity Committee].
       15) Any and all documents and communications relating to, or with, any current or
           former VBF employees.
       16) Any and all photographs, video recordings, audio recordings, or other audio-
           visual data relating in any way to VBF.

       See id.




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                                       LEGAL STANDARD

  I.    Rule 45(d)(3)

        Rule 45(d)(3), entitled “Quashing or Modifying a Subpoena,” provides, in relevant part,

that:

        “(A) When Required. On timely motion, the court for the district where compliance
        is required must quash or modify a subpoena that:

        (i) fails to allow a reasonable time to comply…
        (iii) requires disclosure of privileged or other protected matter, if no exception or
        waiver applies; or
        (iv) subjects a person to undue burden.”

 II.    Rule 26

        Rule 26(b), entitled “Discovery Scope,” provides, in relevant part that:

        “(1) Scope in General. Unless otherwise limited by court order, the scope of
        discovery is as follows: Parties may obtain discovery regarding any nonprivileged
        matter that is relevant to any party's claim or defense and proportional to the needs
        of the case, considering the importance of the issues at stake in the action, the
        amount in controversy, the parties’ relative access to relevant information, the
        parties’ resources, the importance of the discovery in resolving the issues, and
        whether the burden or expense of the proposed discovery outweighs its likely
        benefit. Information within this scope of discovery need not be admissible in
        evidence to be discoverable”

        Rule 26(c), entitled “Protective Orders,” states, in relevant part, that:

        “(1) In General. A party or any person from whom discovery is sought may move
        for a protective order in the court where the action is pending—or as an alternative
        on matters relating to a deposition, in the court for the district where the deposition
        will be taken. The motion must include a certification that the movant has in good
        faith conferred or attempted to confer with other affected parties in an effort to
        resolve the dispute without court action. The court may, for good cause, issue an
        order to protect a party or person from annoyance, embarrassment, oppression, or
        undue burden or expense, including one or more of the following:

        (A) forbidding the disclosure or discovery;


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       (B) specifying terms, including time and place or the allocation of expenses, for the
       disclosure or discovery;…
       (D) forbidding inquiry into certain matters, or limiting the scope of disclosure or
       discovery to certain matters;…
       (F) requiring that a deposition be sealed and opened only on court order;
       (G) requiring that a trade secret or other confidential research, development, or
       commercial information not be revealed or be revealed only in a specified way…”


                                          ARGUMENT

  I.   Pursuant to Rule 26(b)(2)(C)(iii), the Subpoenas Should Be Quashed Because They
       Request Documents and Communications that have no Bearing on the Claims and
       Defenses Presented in this Litigation.

       Relevance for discovery purposes is broadly defined by Rule 26, but even so, is limited to

“any nonprivileged matter that is relevant to any party’s claim or defense and proportional to the

needs of the case.” Rule 26(b)(1). “Some threshold showing of relevance must be made before

parties are required to open wide the doors of discovery and to produce a variety of information

which does not reasonably bear upon the issues in the case.” See, e.g., Hofer v. Mack Trucks, Inc.,

981 F.2d 377, 380 (8th Cir. 1992). Here, VBF asserts nine claims against Defendants, all variations

of breach of fiduciary duty, fraud, and conspiracy in their actions as VBF’s officers and directors.

By VBF’s own allegations, Defendants’ wrongful conduct began sometime in September 2014,

after they obtained control of VBF, and continued until VBF completed its investigation in March

2018, after Defendants were “ousted” from the company. (See Am. Compl. at ¶¶ 13, 14, 44, 52,

81.)

       Pursuant to Rule 26(b)(1), discovery in this matter is limited to VBF’s claims regarding

Defendants’ wrongful conduct while they controlled VBF until VBF completed its investigation of

that conduct in March 2018. Plaintiff’s request for documents outside that time period are not

relevant and outside the scope of Rule 26(b).




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        Further, the Subpoenas are not directed to anything related to Defendants’ conduct while

in control of VBF. Instead, they largely relate to the Challenge Notice and Plan confirmation.

(See Group Exhibit 1.) The Challenge Notice was not sent until months after VBF completed its

investigation of Defendants and initiated the District Court Case.                    The Subpoenas seek

communications among Defendants, the Creditor Committee, the Equity Committee, and each of

their respective attorneys regarding the Challenge Notices. See id. The only vague reference to

the District Court Case is in a broadly worded request for “all documents and communications

relating to the Complaint.” Id. These Subpoenas are not designed to discover documents related

to VBF’s claims against Defendants -- but to subvert the challenges to the bankruptcy Plan. This

is not within the scope of Rule 26(b)(1).

        VBF also has failed to answer any discovery issued to it in connection with Plan

confirmation. VBF has yet to serve any discovery in the Bankruptcy Case. A fee application

submitted in the Bankruptcy Case by VBF’s counsel, Brown, Koehn, Shors & Roberts, P.C.,

however, indicates why the Subpoenas were issued in this forum, rather than in the Bankruptcy

Case. On February 11, 2019, counsel held a conference call to discuss “whether to answer

discovery from ad hoc creditors committee in bankruptcy case and whether to send subpoena in

federal case[.]”4 VBF appears to be using the Subpoenas to prosecute Plan confirmation discovery

in this forum while delaying and obstructing any discovery in the Bankruptcy Case.                         The

Subpoenas were not noticed and served because they are relevant in the District Court Case, but

because VBF wants documents and information in the Bankruptcy Case. Accordingly, pursuant

to Rule 26(b)(2)(C)(iii), this Court should quash the Subpoenas.




4
 See Excerpts from Fee Application filed by Brown, Koehn, Shors & Roberts, P.C, filed February 20, 2019 (Bankr.
ECF Dkt. No. 314) p. 95, attached hereto as Exhibit 5.

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 II.   Pursuant to Rule 45(d)(3)(A)(i), the Subpoenas Should be Quashed Because They
       Seek a Voluminous Amount of Documents and Information That Require Review for
       Privileged Communications within Fourteen Days.

       Rule 45(d)(3)(A)(i) provides that a court must quash a subpoena that fails to allow a

reasonable time to comply. Here, the subpoenas request largely broad and vague categories of

document and communications, including personal financial information and privileged

communications with attorneys—some of which may be sensitive, and could not be produced

without careful review and, potentially, a protective order. Additionally, the requests are not even

limited in time and, therefore, ask Nonparties to review their records over many years. Nonparties’

counsel cannot reasonably comply with the subpoena for documents within fourteen days and ask

this Court to quash the Subpoenas for documents upon these grounds alone.


III.   Pursuant to Rule 45(d)(3)(A)(iii), the Subpoenas Should be Quashed Because They
       Request Documents and Communications that are Protected by Attorney-Client
       Privilege.

       Even if the Court finds that discovery into the challenges to VBF’s Plan is (somehow)

related to VBF’s breach of fiduciary duty claims here, the Court should quash the subpoenas

because they seek communications that are privileged.

       Rule 45(d)(3)(A)(iii) provides that a court must quash a subpoena that requires disclosure

of privileged information. The Northern District of Iowa has found that the application of the

attorney-client privilege is governed by state law. St. Paul Reinsurance Co., Ltd. v. Commercial

Fin. Corp., 197 F.R.D. 620, 627 (N.D. Iowa 2000). In Iowa, the attorney-client privilege is

codified in Iowa Code § 622.10(1), which states that:

       A practicing attorney ... shall not be allowed, in giving testimony, to disclose any
       confidential communication properly entrusted to the person in the person’s
       professional capacity, and necessary and proper to enable the person to discharge
       the functions of the person’s office according to the usual course of practice or
       discipline.


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Iowa Code § 622.10(1).       The Supreme Court of Iowa has found that “[a]ny confidential

communication between an attorney and the attorney’s client is absolutely privileged from

disclosure against the will of the client.” Keefe v. Bernard, 774 N.W.2d 663, 669 (Iowa 2009)

(citation omitted); see also Progressive Cas. Ins. Co. v. F.D.I.C., 302 F.R.D. 497, 501–02 (N.D.

Iowa 2014). The attorney-client privilege focuses on the nature of the relationship involved and

is “not dependent whatsoever upon the anticipation of litigation.” Meighan v. TransGuard Ins.

Co. of Am., 298 F.R.D. 436, 447 (N.D. Iowa 2014).

       Here, the Subpoenas explicitly request documents and communications from the Equity

Committee’s counsel and the Nonparties. E.g., Group Exhibit 1 (“Any and all documents and

communications relating to, or with Horwood Marcus & Berk.”).              Such documents and

communications are clearly protected by attorney-client privilege as HMB represents certain

Nonparties in their capacity as members of the Equity Committee in the Bankruptcy Case.

Accordingly, this Court should quash the Subpoenas.

IV.    In the Alternative, This Court Should Issue a Protective Order to Limit the
       Subpoenas Under Rule 26(c).

       Rule 26(c)(1)(G) provides that a court may issue a protective order to protect confidential

information “not be revealed or be revealed only in a specified way.” Id.; see also Eggerling v.

Advanced Bionics, LLC, 2013 WL 835974 at *3 (N.D. Iowa Mar. 6, 2013) (“Documents may be

protected if, for example, they contain “information about manufacturing processes, budgeting and

finance issues, testing and other matters that would not generally be released for public

consumption.”) (emphasis added).

       The Unites States Supreme Court has explained the purpose of Rule 26(c) as follows:

       Rule 26(c) furthers a substantial governmental interest unrelated to the suppression
       of expression.... Liberal discovery is provided for the sole purpose of assisting in


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       the preparation and trial, or the settlement, of litigated disputes. Because of the
       liberality of pretrial discovery permitted by Rule 26(b)(1), it is necessary for the
       trial court to have the authority to issue protective orders conferred by Rule 26(c).
       It is clear from experience that pretrial discovery by depositions and interrogatories
       has a significant potential for abuse. This abuse is not limited to matters of delay
       and expense; discovery also may seriously implicate privacy interests of litigants
       and third parties. The Rules do not distinguish between public and private
       information. Nor do they apply only to parties to the litigation, as relevant
       information in the hands of third parties may be subject to discovery.

Seattle Times Co. v. Rhinehart, 467 U.S. 20, 34–35 (1984) (citations omitted). Further, Rule 26(c)

“confers broad discretion on the trial court to decide when a protective order is appropriate and

what degree of protection is required.” Id. at 36. Here, a protective order is warranted to protect

the Nonparties’ privileged communications and personal financial information from being

disclosed. Specifically, this Court should enter a protective order barring VBF from seeking

documents and communications between and among Nonparties and counsel. This Court should

also enter a protective order barring VBF from requesting personal financial records.

                                         CONCLUSION

       WHEREFORE, for the reasons articulated above, Nonparties request the Court quash the

Subpoenas or, alternatively, enter a Protective Order.




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               CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true copy of this
document was served upon the persons listed on this
document at the addresses indicated by CM/ECF electronic
notification or by enclosing the same in an envelope with
postage fully paid and by depositing said envelope in a
United States Post Office depository this 1st day of March,
2019. I declare under penalty of perjury that the foregoing is
true and correct.


                                /s/ Chanda Clark




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